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                    UNITED STATES DISTRICT COURT
                    NORTHERN DISTRICT OF GEORGIA


LISA CERVALLI,

      Plaintiff,                                   Civil Action No. __________

             v.
                                                   JURY TRIAL DEMANDED
PIEDMONT HEALTHCARE, INC. and
PIEDMONT HENRY HOSPITAL,
INC.,

      Defendants.



                                 COMPLAINT

      Plaintiff Lisa Cervalli, by and through undersigned counsel, brings this

retaliation Complaint against Defendants Piedmont Healthcare, Inc. and Piedmont

Henry Hospital, Inc. (collectively, “Piedmont” or “the Defendants”). This action is

brought by Plaintiff for relief from retaliatory actions under the False Claims Act

(“FCA”), 31 U.S.C. §§ 3729-33, and the Georgia False Medicaid Claims Act,

O.C.G.A. §49-4-168.4.




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                                 INTRODUCTION

      1.     This is an action for relief from retaliatory actions by Piedmont against

Plaintiff for lawful acts by employee to stop Piedmont from committing violations

of the False Claims Act and Georgia False Medicaid Claims Act.

      2.     Plaintiff attempted to stop Defendants from submitting and/or causing

the submission of false claims by knowingly submitting reimbursement claims to

Medicare, 42 U.S.C. § 1395 et seq., Medicaid, 42 U.S.C. § 1396 et seq.,

TRICARE/CHAMPUS 10 U.S.C. § 1071 et seq., Federal Employee Health Benefits

Program, 5 U.S.C. §§ 8901, et seq. (hereinafter collectively referred to as “Federal

Healthcare Programs”), for medication that was never administered to patients.

      3.     Not only did Plaintiff’s supervisors condone and instruct Piedmont’s

improper pharmacy billing practices, they also ignored Plaintiff’s complaints.

Defendant Piedmont’s executives and officers recklessly ignored Plaintiff’s

numerous complaints of the improper practices and then ultimately terminated

Plaintiff in retaliation for her complaints.

                          JURISDICTION AND VENUE

      4.     This action arises under the False Claims Act, as amended, 31 U.S.C.§§

3729-3733. This Court has subject matter jurisdiction over this action pursuant to 28

U.S.C. § 1331, and subject matter jurisdiction under the federal False Claims Act,

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31 U.S.C. § 3732, including state law claims under 31 U.S.C. § 3732(b). This court

also has supplemental jurisdiction over state law claims pursuant to 28 U.S.C. §

1367.

        5.   Venue lies in this district under 28 U.S.C. § 1391(b) & (c) and 31

U.S.C. § 3732(a) because the Defendants transact business and have committed acts

in violation of 31 U.S.C. § 3729 in this district.

                                   THE PARTIES

        6.   Plaintiff Lisa Cervalli (“Cervalli”) is an adult citizen and resident of the

State of Georgia. Cervalli is a Certified Pharmacy Technician (“CPhT”). She has

over 16 years of experience as a CPhT, 12 of which she was a Lead Technician. Ms.

Cervalli is licensed by the State of Georgia and nationally certified. She attended

Clayton State University where she received her pharmacy technician certificate.

Plaintiff worked at Piedmont Henry Hospital in Henry County, Georgia from August

3, 2015 to July 2, 2017. Her employment was terminated after she made complaints

to her supervisors, Piedmont’s Human Resources department, Piedmont’s

Compliance department, and Piedmont’s officers and executives concerning the

improper practices alleged herein. Since the time of her termination, Ms. Cervalli

has been unable to find new employment in her field.




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      7.     Defendant Piedmont Healthcare, Inc. (“Piedmont Healthcare”) is a not-

for-profit, health care organization serving nearly 2 million patients across Georgia.

Piedmont has eleven hospitals and over 800 service locations. As of June 30, 2016,

Piedmont Healthcare had revenues of approximately $2 billion, of which 32% came

from services provided under Medicare and 4% came from services provided under

Medicaid. In 2016, Piedmont Healthcare performed tens of thousands of procedures

for which it received payment through Medicare and Medicaid.

      8.     In 2006, Piedmont Healthcare agreed to pay $3 million to settle a qui

tam lawsuit that alleged the hospital submitted claims to federal healthcare programs

for services that were not eligible for reimbursement and failed to properly execute

contractual agreements with the physicians performing professional services.

Piedmont Healthcare signed a Corporate Integrity Agreement that required

Piedmont to adhere to certain policies and procedures to ensure compliance with

certain statutes and regulations that govern the use of health-care funds.

      9.     On June 25, 2020, the U.S. Department of Justice announced that

Piedmont Healthcare had agreed to pay $16 million to settle a qui tam lawsuit that

claimed Piedmont overbilled Medicare and Medicaid for cardiac care and illegally

paid kickbacks to practitioners who referred heart patients to its hospitals. The

lawsuit alleged that Piedmont retaliated against a compliance officer who advocated

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for Piedmont to take corrective action to address systemic operational and

compliance deficiencies.

      10.       Piedmont Healthcare’s hospitals have pharmacies in-house through

which it provides pharmaceuticals and other pharmaceutical supplies to patients at

the hospital.

      11.       Defendant Piedmont Henry Hospital, Inc. (“Piedmont Henry”) is a 230-

bed, not-for-profit hospital located in Stockbridge, Georgia with more than 1,500

employees and 450 physicians on staff.          Piedmont Henry joined Piedmont

Healthcare in 2012 and primarily serves residents of Henry County. Specializing in

emergency services, Piedmont Henry treated over 75,000 patients in its emergency

department last year. A member of Piedmont Healthcare's South Region, Piedmont

Henry also offers heart and stroke care, 24-hour medical and surgical services,

rehabilitation and women's services. In 2016, Piedmont Henry had 84,039

emergency room visits, 57,872 outpatient encounters and 13,084 inpatient

admissions. Upon information and belief, over 33% of Piedmont Henry patients are

covered by Medicare/Medicaid.

                STATUTORY AND REGULATORY FRAMEWORK

      I. The Federal False Claims Act




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       12.    The False Claims Act (“FCA”) provides that any person who

knowingly presents, or causes to be presented, a false or fraudulent claim for

payment or approval, or who knowingly makes, uses or causes to be made or used,

a false record or statement material to a false or fraudulent claim to the Government

is liable for damages in the amount of three (3) times the amount of loss the

Government sustained and penalties which range between $5,500 and $11,000 per

claim. 31 U.S.C. § 3729(a); 28 C.F.R. § 85.3. For purposes of the FCA, “the terms

‘knowing’ and ‘knowingly’ mean that a person, . . . (1) has actual knowledge of the

information; (2) acts in deliberate ignorance of the truth or falsity of the information;

or (3) acts in reckless disregard of the truth or falsity of the information.” Id. at § (b).

“[N]o proof of specific intent to defraud is required” for a successful claim under the

FCA. Id.

       13.    The FCA protects employees from retaliation for engaging in acts to

stop an employer from submitting false claims, providing the following relief:

“reinstatement with the same seniority status that employee, contractor, or agent

would have had but for the discrimination, 2 times the amount of back pay, interest

on the back pay, and compensation for any special damages sustained as a result of

the discrimination, including litigation costs and reasonable attorneys’ fees.” 31

U.S.C. § 3729(h).

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       II.   Healthcare Programs

       14.   A healthcare provider commits a violation of the FCA when it presents,

or causes to be presented, a false or fraudulent claim for payment under any of the

following government healthcare programs.

       A. Medicare

       15.   Title XVIII of the Social Security Act, 42 U.S.C. §§ 1395 et seq.

establishes the Health Insurance for the Aged and Disabled Program, more popularly

known as the Medicare program. Medicare is a federally funded and administered

health care program for certain groups of persons, primarily the elderly and the

disabled. It is administered by the Secretary of Health and Human Services (“HHS”)

through the Centers for Medicare and Medicaid Services (“CMS”), a department of

HHS.

       16.   Medicare Part B, 42 U.S.C. §§ 1395j et seq., covers drugs that usually

are not self-administered. In a hospital outpatient department, coverage generally is

limited to drugs that are given by infusion or injection. If the injection usually is

self-administered or isn’t given as part of a doctor’s service, Part B generally won’t

cover it, but a person’s Medicare drug plan (Part D) may cover these drugs under

certain circumstances.




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      17.     The Medicare Modernization Act of 2003 (MMA), Pub. L. 108-173,

117 Stat. 2066, established a voluntary prescription drug benefit program for

Medicare beneficiaries – Part D– that took effect on January 1, 2006. 42 U.S.C. §

1395w-101 et seq.

      B. Medicaid

      18.     Medicaid is a joint federal-state program that provides health care

benefits for certain groups; primarily the poor and disabled. Each state administers

its own Medicaid program, under federal regulations that generally govern what

services should be provided, under what conditions. CMS monitors the state-run

programs and establishes requirements for service delivery, quality, funding, and

eligibility standards. The federal government provides a portion of each state’s

Medicaid funding. The portion provided is known as the Federal Medical Assistance

Percentage (“FMAP”) and is based on the state’s per capita income compared to the

national average. 42 U.S.C. § 1396d(b). In Georgia, the rate in effect for 2016 was

67.7 %.

      19.     The Children’s Health Insurance Program (“CHIP”) provides health

coverage to eligible children, through both Medicaid and separate CHIP programs.

CHIP is administered by states, according to federal requirements. The program is

funded jointly by states and the federal government.

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      C. TRICARE/CHAMPUS

      20.    In 1967, the Department of Defense created the Civilian Health and

Medical Program of the Uniformed Services (“CHAMPUS”), which is a federally

funded medical program created by Congress. 10 U.S.C. § 1071. CHAMPUS

beneficiaries include active military personnel, retired personnel, and dependents of

both active and retired personnel. Id.

      21.    In 1995, the Department of Defense established TRICARE, a managed

healthcare program, which operates as a supplement to CHAMPUS. See 32 C.F.R.

§§ 199.4, 199.17(a). Since the establishment of TRICARE in 1995, both programs

are frequently referred to collectively as TRICARE/CHAMPUS, or just

“TRICARE.” The purpose of the TRICARE program is to improve healthcare

services to beneficiaries by creating “managed care support contracts that include

special arrangements with civilian sector health care providers.” 32 C.F.R.

§199.17(a)(1). The TRICARE Management Activity (“TMA”) oversees this

program.

      D. Federal Employee Health Benefits Program

      22.    The Federal Employee Health Benefits Program (“FEHBP”) is a

federally funded medical insurance program for federal employees, retirees, their

spouses and unmarried dependent children under age 22, administered by the Office

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of Personnel Management (“OPM”) pursuant to 5 U.S.C. §§ 8901, et seq. Through

the OPM, the Government contracts with private health plans or “carriers” to deliver

health benefits to its employees. Monies for the FEHBP are maintained in the

Employees’ Health Benefits Fund ("Health Fund"), and are administered by OPM. 5

U.S.C. § 8909. Federal agencies and their employees contribute to the Health Fund

to cover the total cost of health care premiums. 5 U.S.C. § 8906. The monies from

the Health Fund are used to reimburse the carriers for claims they pay on behalf of

FEHBP beneficiaries.

       23.    Defendant Piedmont bills the government for drugs provided under

Medicare Parts B and D, TRICARE, Medicaid and FEHBP.

      PIEDMONT’S IMPROPER PHARMACY BILLING PRACTICES

       24.    During Plaintiff’s employment, Piedmont Henry used a medical billing

software program called EPIC. EPIC is an integrated suite of software applications

that support healthcare organizations including Piedmont.         EPIC's applications

support functions related to patient care, including registration and scheduling;

clinical systems for doctors, nurses, emergency personnel, and other care providers;

systems for lab technologists, pharmacists, and radiologists; and billing systems for

insurers. EPIC is a fully integrated system. EPIC encompasses not only clinical

information, but also registration, patient scheduling and billing.

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       25.    For the pharmacy, Piedmont Henry had an additional module called

EPIC Willow that is integrated into the larger EPIC system used by Piedmont Henry.

EPIC Willow was the only software used in the pharmacy at Piedmont Henry to track

and bill for medications from the time Plaintiff worked at Piedmont Henry.

       26.    The EPIC Willow software had systemic problems that are known to

the executives and officers of Piedmont. Other pharmacy tracking and billing

software bill patient’s accounts upon administration of the medication dose to the

patient. The EPIC Willow software automatically bills patient’s accounts upon the

pharmacy dispensing a medication dose. Accordingly, if a medication is dispensed

but not administered, the patient’s account is billed for the medication unless the

patient’s account is manually credited for the unadministered medication.

Medication doses are often dispensed by the Piedmont Henry pharmacy, sent to the

requesting department/floor/nurse, but then not administered to the patient for various

reasons and eventually returned to the pharmacy.

       27.    Unadministered medications piled up in the “med room” by the nursing

staff in the various hospital departments. The med rooms were a mess, with unused

meds spilling out from bins, and carts onto the floor of the room. The nursing staff

did not credit back the unused medication doses and the pharmacy was not notified

that the medication doses had not been administered.

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       28.    Nurses often could not find the medications that had been ordered for

patients and would make subsequent orders for the same medication dose without

crediting back the unadministered medication dose or advising the pharmacy that the

medication was not administered. Often, this results in two to three orders for the

same medication dose, when the patient may have only received one medication dose.

This results in double or triple billing for the same medication dose.

       29.    Unused medications would get thrown out or get returned to the

pharmacy months later. When medications are returned to the pharmacy, pills may

either get put back on the shelf or may get thrown out if they are out-of-date. IVs are

thrown out and cannot be put back on the shelf. Only in rare situations are the unused

medications manually credited back to patient’s accounts.

       30.    The Piedmont Henry ER medication situation was especially

problematic. Piedmont Henry is the busiest ER in the Piedmont system; it is as busy

as the Grady ER in downtown Atlanta.

       31.    There are three methods of delivery of medications from the pharmacy

to the ER, depending on the urgency of the medication.

       32.    First, the ER has a Pyxis machine, which contains regularly used

medication that nurses can access and log into the Pyxis machine when a drug is



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being removed for a particular patient. At the time a drug is removed from the Pyxis

machine and logged by the nurse, the patient’s account is charged for the drug.

       33.    Second, medications not in the Pyxis machine and that are not urgent

are supposed to be dispensed and delivered to the ER by pharmacy techs. Medications

are to be either handed to the nurse or placed in the “in” bin in the ER.

       34.    Third, Piedmont Henry also has a tube system to deliver “stat” ordered

medications to the ER. However, the stat tubes are often used to deliver non-stat

medications to the ER. All pharmacy orders for the entire hospital come to a single

pharmacy tech assigned to the pharmacy counter during each shift. The tech assigned

to the counter has to ensure dispensing of orders for the entire hospital that come out

of the printer at the front counter, as well as answer the phone. Pharmacy techs do

not always have the time to walk medications down to the ER and, instead, send them

in the stat tubes even when the medications are not stat.

       35.    Medications delivered via the tube system should be removed from the

tube in the ER and placed in the “in” bin. However, given how busy Piedmont

Henry’s ER is, the medications are often removed and placed on a counter somewhere

in the ER such that the nurses are unable to locate the medications. ER nurses do not

have time to search for the medications, and, therefore, call the pharmacy asking for



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the medication again, resulting in the same medication being dispensed multiple

times.

         36.    When a pharmacy tech receives a repeat order for a medication that has

already been dispensed, the proper procedure would be to “hold” the charge for the

redispensed medication. However, pharmacists tell techs to just dispense it and get it

into the tube. The charge is almost never held when medications are redispensed to

the ER, resulting in multiple charges for the same medication.

         37.    It is also the case in the ER that dispensed medications are often not

administered to patients because, prior to the medication being administered, the

patients are discharged from the ER, transferred to other departments in the hospital,

or pass away.

         38.    During several exchanges between Plaintiff and her supervisor, Chris

Bridgers, Plaintiff was expressly told that she should not manually credit back any

unadministered medications that were returned to the pharmacy after 3 days of being

dispensed. She was told that Piedmont would automatically credit the patient’s

account three days after the medication was dispensed if it was not administered (the

“Three Day Rule”). On at least five separate occasions, Plaintiff was told by Bridgers

directly of the Three-Day Rule. Plaintiff was told that these were direct orders from

Piedmont Healthcare management.

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        39.   Plaintiff was told by a colleague that “upper management” was

pressuring Bridgers to implement the Three-Day Rule because Piedmont’s finance

department did not want to have to fix bills that had already been issued to patients’

accounts.

        40.   Bridgers directed another pharmacy technician, Sherry Greer, to

instruct Plaintiff about the Three-Day Rule. Moreover, Celeste Fowler, another of

Plaintiff’s supervisors, was present on several occasions when Bridgers would

instruct the pharmacy employees during their daily “huddle” about the Three-Day

Rule.

        41.   Plaintiff knew these medications were not, in fact, being automatically

credited after three days, because the EPIC system required manual crediting and,

when Plaintiff went to credit returned medications after three days, the system did

not indicate that the medications had been credited.

        42.   Moreover, there were instances in which months later when unused

medications made their way back to the pharmacy, Plaintiff attempted to manually

credit back some of the unadministered medications. In response, Plaintiff was

reprimanded by Bridgers for doing so because he told them that Piedmont had already

billed the unadministered medications and management did not want to fix billing

records that were already submitted for payment – and in some instances, already

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paid. Plaintiff was again told that she was not to credit back medications after three

days.

        43.   Plaintiff asked the lead pharmacy tech about crediting returned

medications and was told that Bridges “flips out” if returned medications are credited

because the “higher ups” called Bridges irritated that they would have to reissue bills.

              PLAINTIFF REPEATEDLY REPORTED CONCERNS
                    AND WAS RETALIATED AGAINST

        44.   During Plaintiff’s employment at Piedmont, Plaintiff notified her direct

supervisors at Piedmont Henry, Piedmont’s Human Resources department,

Piedmont’s Compliance department, and officers and executives of Piedmont of the

issues regarding improper billing for unadministered medications.

        45.   In the fall of 2015, shortly after starting at Piedmont, Plaintiff offered

to her supervisors, Conrad Robinson, the Pharmacy Operations Manager, and Celeste

Fowler, the Director of Pharmacy, to work on crediting the large amount of returned

medications sitting in the pharmacy. Mr. Robinson responded that her co-workers

may be offended if she did so, because it would imply that they were not doing their

job.

        46.   During the first half of 2016, Plaintiff reported to multiple HR

personnel within Piedmont her concerns that the pharmacy was engaging in improper

billing practices.
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       47.    In January 2016, Plaintiff went to Piedmont Henry’s Interim CEO,

Fred Wilms, and expressed concerns regarding the pharmacy. Mr. Wilms told

Plaintiff to contact the head of Human Resources at Piedmont Henry Jana Warren

with her concerns.

       48.   Plaintiff informed Ms. Warren of her concerns and Ms. Warren

responded that she would investigate the concerns. Upon information and belief, Ms.

Warren informed Ms. Fowler, Plaintiff’s supervisor, of Plaintiff’s complaints about

the pharmacy practices. After Plaintiff voiced her complaints to Ms. Warren,

Plaintiff was repeatedly threatened, yelled at and overloaded with work.       For

example, Plaintiff was required to carry dozens of heavy cases of IV fluids yet her

coworkers only had to carry 2 or 3.

       49.   Prior to reporting her concerns to the Human Resources department,

Plaintiff received excellent reviews for her performance.

       50.    When Plaintiff did not hear back from Ms. Warren, she called the

executive office at Piedmont Henry and asked who was in charge of the pharmacy.

She was told Sherry Henderson, Piedmont Henry’s CFO was in charge of the

pharmacy and Plaintiff made an appointment to speak with Ms. Henderson.

       51.    Ms. Henderson expressed concern about what she was told by Plaintiff

called a meeting of pharmacy staff in February 2016. At that meeting Ms. Henderson

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saw the returned medications piled up in the pharmacy. Ms. Henderson told staff “this

ends now,” but the Director of Pharmacy Celeste Fowler responded that the pharmacy

did not have enough staff and staff was not paid enough.

       52.      In November 2016, Plaintiff called and left a voicemail for Piedmont

Healthcare’s Chief Compliance Officer Mark Guza stating that she would like to

speak with him regarding issues in the pharmacy at Piedmont Henry. Natalie [last

name unknown] from the compliance department contacted Plaintiff and interviewed

her regarding her concerns. Plaintiff provided names of individuals in the pharmacy

who could substantiate Plaintiff’s concerns. Those individuals were interviewed by

the Compliance department.

       53.     After Plaintiff was interviewed by the Compliance department, the

Piedmont Henry pharmacy underwent an audit. In April 2017, it was announced that

the Director of Pharmacy, Celeste Fowler, would be leaving the Piedmont Henry

pharmacy and taking a new position within Piedmont Healthcare effective June 2017.

       54.    Plaintiff’s co-workers blamed Plaintiff for Ms. Fowler’s reassignment,

retaliated against Plaintiff and treated her with hostility as a result.

       55.    Chris Bridgers had taken over Mr. Robinson’s position as Pharmacy

Operations Manager after Mr. Robinson passed away. Mr. Bridges had worked with

Ms. Fowler at another hospital and was friends with her. After Ms. Fowler was

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reassigned, Mr. Bridgers also blamed Plaintiff for reporting the issues in the

pharmacy to the Compliance and Human Resources departments resulting in Ms.

Fowler’s reassingment, retaliated against Plaintiff, and treated her with hostility.

       56.    Deborah Armstrong become the new CEO of Piedmont Henry to

replace Interim CEO Fred Wilms in or about October 2016. When Ms. Armstrong

started as CEO she held a townhall meeting with Piedmont Henry staff at which she

invited staff to come speak with her.

       57.    In June 2017, Plaintiff went to speak with Ms. Armstrong, expressing

her concerns about the pharmacy and the retaliation towards Plaintiff as a result of

her reporting issues in the pharmacy to the Compliance and Human Resources and

Compliance departments. Ms. Armstrong told Plaintiff to speak with Amy Stroup,

Director of Employee Relations for Piedmont Healthcare in Atlanta.

       58.    Plaintiff spoke by telephone with Ms. Stroup and shared her concerns

regarding the pharmacy. Ms. Stroup planned to meet in person with Plaintiff on the

following Friday, June 30, 2017. They were unable to finish their discussions that

Friday and planned to speak again on Sunday, July 1, 2017 when Plaintiff would be

working.

       59.    On Sunday, July 2, 2017, after Plaintiff finished delivering medications

throughout the hospital, she returned to the pharmacy and was told to report to Human

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Resources. When Plaintiff arrived in Human Resources, Ms. Stroup and Ms. Warren

were waiting for her together with a security guard. Ms. Stroup informed Plaintiff

that the problems Plaintiff was having in the pharmacy were not going to get resolved,

and, therefore, Piedmont had decided to terminate Plaintiff.

       60.   In response to her reporting concerns regarding the pharmacy’s billing

practices to Human Resources and Compliance, Plaintiff was repeatedly harassed

and subjected to hostility by her supervisors Celeste Fowler and Chris Bridgers, as

well as her co-workers. When she complained to Human Resources regarding the

retaliation and hostile treatment she was experiencing due to her reporting the

pharmacy to Human Resources and Compliance, Human Resources personnel told

Plaintiff to just resign if she didn’t like what was going on in the pharmacy. Instead

of protecting Plaintiff from retaliation, Defendants ultimately terminated her.

                              CLAIMS FOR RELIEF

                                   COUNT I
                      FALSE CLAIMS ACT VIOLATIONS
                              31 U.S.C. § 3730(h)
                     (Wrongful and Retaliatory Termination)

       61.   Plaintiff realleges and incorporates by reference the allegations

contained in the foregoing paragraphs of this Complaint.

       62.   The False Claims Act entitles employees “all relief necessary to make

that employee … whole” if she is terminated “or in any other manner discriminated
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against in the terms and condition of employment because of lawful acts done by the

employee … to stop one or more violations of the FCA.” 31 U.S.C. § 3730(h)(1).

       63.    An employee so wronged may also be reinstated with equal status and

may recover double back pay with interest “and compensation for any special

damages sustained as a result of the discrimination, including litigation costs and

reasonable attorneys’ fees.” Id. § 3730(h)(2).

       64.    Plaintiff engaged in protected activity by inter alia, specifically

reporting Defendants’ fraudulent activities to her supervisors Conrad Robinson,

Celeste Fowler, and Chris Bridgers, as well as to Piedmont’s Human Resources

department, Chief Compliance Officer, and Piedmont’s officers and executives in an

attempt to stop the violations described above.

       65.    After Plaintiff began reporting her concerns about the billing fraud,

Defendants subjected Plaintiff to a hostile work environment due to her protected

activity; this discrimination included but was not limited to disparate work conditions

not imposed upon employees who acquiesced in Defendant’s improper billing

practices, harassment, increased discipline and reports thereof, and threats by Mr.

Bridges to Plaintiff’s employment.

       66.    Moreover, Defendant discharged Plaintiff after complaining to the

Human Resources and Compliance departments of the billing fraud, and at the time

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of termination, informed Plaintiff that the reason for her discharge was that the

problems Plaintiff was having in the pharmacy were never going to be resolved.

       67.   Because of Defendant’s unlawful retaliation against her, Plaintiff has

suffered a loss of employment opportunities and earnings and a loss of future earnings

and earning capacity, and Plaintiff has suffered and continues to suffer non-monetary

damages including but not limited to emotional and physical distress, humiliation,

embarrassment, loss of esteem and loss of enjoyment of life.

                                COUNT II
                 GEORGIA FALSE MEDICAID CLAIMS ACT
                       GA. CODE ANN. §49-4-168.4
                   (Wrongful and Retaliatory Termination)

       68.   Plaintiff realleges and incorporates by reference the allegations

contained in the foregoing paragraphs of this Complaint.

       69.   By virtue of the acts described above, Plaintiff was discharged,

demoted, suspended, threatened, harassed, discriminated against in the terms and

conditions of employment by Defendants because of lawful acts done by the

employee, on behalf of the employee or others, in retaliation for her complaints about

the violations described herein.

       70.   Pursuant to O.C.G.A. § 49-4-168.4, Plaintiff is entitled to all relief

necessary to make her whole. Such relief shall include reinstatement with the same

seniority status she would have had but for the discrimination, two times the amount
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of back pay, interest on the back-pay award, and compensation for any special

damages sustained as a result of the discrimination, including litigation costs and

reasonable attorney's fees.

                              PRAYER FOR RELIEF

      WHEREFORE, Plaintiff demands that judgment be entered in her favor

against the Defendants as follows:

      A.     On Count I, judgment against the Defendant for the maximum amount

of damages allowed pursuant to 31 U.S.C. § 3730(h);

      B.     On Count II, judgment against the Defendants for the maximum amount

of damages allowed pursuant to O.C.G.A. § 49-4-168.4;

      C.     Reasonable attorney’s fees and expenses as permitted by applicable

statutes and law, including, but not limited to, 31 U.S.C. § 3730(h)(2) and O.C.G.A.

§ 49-4-168.4;

      D.     Pre- and post-judgment interest as allowed by law; and

      E.     Any other relief the Court deems just.

                          PRAYER FOR A JURY TRIAL

      Plaintiff prays a jury trial in this action.

                                                 Respectfully submitted,

                                                 s/Kristi Stahnke McGregor
                                                 Kristi Stahnke McGregor
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                                  Georgia Bar No. 674012
                                  James M. Evangelista
                                  Georgia Bar No. 707807
                                  David J. Worley
                                  Georgia Bar No. 776665
                                  EVANGELISTA WORLEY, LLC
                                  500 Sugar Mill Road
                                  Suite 245A
                                  Atlanta, GA 30350
                                  Tel: (404) 205-8400
                                  Facsimile: (404) 205-8395
                                  kristi@ewlawllc.com
                                  jim@ewlawllc.com
                                  david@ewlawllc.com

                                  Helen Kim Ho
                                  Georgia Bar No. 121781
                                  HKH LAW LLC
                                  3470 McClure Bridge Road, #1791
                                  Duluth, GA 30096-9998
                                  Telephone: 678-310-7196
                                  Fax: 678-868-6908
                                  Email: helen@hkhlawllc.com

                                  Counsel for Plaintiff Lisa Cervalli




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